                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                    SOUTHERN DIVISION

AUTO-OWNERS INSURANCE COMPANY,                               )
                                                             )
            Plaintiff,                                       )
                                                             )
            vs.                                              )      No. ____________________
                                                             )
LANCE DAVIDSON d/b/a                                         )
DAVIDSON CONTRACTORS, LLC,                                   )
DAVIDSON CONTRACTORS, LLC,                                   )
JUSTIN ANTHONY GALLAGHER,                                    )
MELISSA MARIE GALLAGHER, and                                 )
JOHN MASON,                                                  )
                                                             )
            Defendants.                                      )

                          COMPLAINT FOR DECLARATORY JUDGMENT

            COMES NOW Plaintiff Auto-Owners Insurance Company (“Auto-Owners”), by and

through counsel, and for its Complaint for Declaratory Judgment would show unto the Court as

follows:

            1.     Auto-Owners is a Michigan corporation with its principal place of business in

Lansing, Michigan.

            2.     Defendant Lance Davidson d/b/a Davidson Contractors, LLC (“Davidson”) is a

citizen and resident of Walker County, Georgia. He may be served with a summons and a copy

of the Complaint for Declaratory Judgment at 282 East Nickajack Road, Lookout Mountain,

Georgia 30750.

            3.     Defendant Davidson Contractors, LLC (“Davidson Contractors”), is a member

managed limited liability company incorporated under the laws of the State of Tennessee. Upon

information and belief, Davidson Contractors’ two members are Lance Davidson and John

Mason, both of whom are citizens of the state of Georgia. Davidson Contractors’ principal



3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 1 of 25 PageID #: 1
place of business is at 103 Jordan Drive, Suite 4, Chattanooga, Tennessee 37421. Davidson

Contractors may be served with a summons and a copy of this Complaint for Declaratory

Judgment through its registered agent Kyle R. Weems, at 744 McCauley Avenue, Suite 520,

Chattanooga, Tennessee 37403.

            4.   Defendants Justin Anthony Gallagher and Melissa Marie Gallagher (“the

Gallaghers”) are citizens and residents of Hamilton County, Tennessee. They may be served

with a summons and a copy of the Complaint for Declaratory Judgment at 1191 Natural Way,

Soddy Daisy, Tennessee 37379.

            5.   Defendant John Mason (“Mason”) is a citizen and resident of Catoosa County,

Georgia. He may be served with a summons and a copy of the Complaint for Declaratory

Judgment at 97 Haggard Road, Ringgold, Georgia 30736.

                                 JURISDICTION AND VENUE

            6.   Davidson, Davidson Contractors, and Mason are subject to the jurisdiction of this

Court because they conduct business in Hamilton County, Tennessee, and this action arose out of

the construction of a home by Davidson Contractors for the Gallaghers at 1191 Natural Way,

Soddy Daisy, Tennessee 37379 in Hamilton County, Tennessee (the “Property”).

            7.   Davidson is subject to the jurisdiction of this Court under the Tennessee long-arm

statute, Tenn. Code Ann. § 20-2-214, in that he transacted business in Tennessee and allegedly

committed torts in Tennessee.

            8.   Mason is subject to the jurisdiction of this Court under the Tennessee long-arm

statute, Tenn. Code Ann. § 20-2-214, in that he transacted business in Tennessee and allegedly

committed torts in Tennessee.

            9.   The Gallaghers are subject to the jurisdiction of this Court because this action

arose out the construction of the Property in Hamilton County, Tennessee.
                                                2

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 2 of 25 PageID #: 2
            10.   This action is brought under the Federal Declaratory Judgment Act, 28 U.S.C. §

2201. Auto-Owners seeks a declaratory judgment concerning its rights and obligations under

policies of insurance issued to Davidson.

            11.   This action concerns an actual case and controversy over whether Auto-Owners

has a duty to defend or indemnify Davidson, Davidson Contractors, or Mason pursuant to

policies of insurance issued to Davidson.

            12.   Venue is proper in this district and division because the policies of insurance

issued by Auto-Owners to Davidson were for Davidson’s construction business.                    The

construction at issue was performed in Hamilton County, Tennessee. Moreover the underlying

civil action filed by the Gallaghers against Davidson, Davidson Contractors, and Mason relates

to the construction of the Property in Hamilton County, Tennessee.

            13.   Under 28 U.S.C. § 123(a)(3), the Southern Division of the Eastern District of

Tennessee is the proper venue for actions arising out of Hamilton County, Tennessee.

            14.   Venue is proper in this district and division under 28 U.S.C. § 1391 is a

substantial part of the events giving rise to this claim occurred in Hamilton County, Tennessee.

            15.   The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a) in that there is complete diversity of citizenship between Plaintiff and Defendants and

the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest and

costs.

            16.   Plaintiff is a citizen of Michigan, and Defendants are citizens and residents of

Georgia and Tennessee. Complete diversity of citizenship exists.




                                                  3

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 3 of 25 PageID #: 3
            17.   In this Declaratory Judgment action, Auto-Owners seeks a declaration that it has

no duty to defend or indemnify Davidson, Davidson Contractors, or Mason in a lawsuit brought

against them by the Gallaghers.

            18.   The Amended Complaint filed by the Gallaghers alleges that they entered into a

contract with Davidson Contractors for the construction of a home. The contract price for the

construction of the home was $290,000.00. See Exhibit 1 hereto, Amended Complaint, ¶ 63.

            19.   The Gallaghers allege in their civil action that Davidson, Davidson Contractors,

and Mason breached the home building contract, breached the covenant of good faith and fair

dealing, breached both express and implied warranties, committed negligence, and committed

negligent and intentional misrepresentations. See generally id., ¶¶ 62-107.

            20.   Exhibit B to the original Complaint filed by the Gallaghers contains a demand

letter in which the Gallaghers’ counsel estimates that the cost of remediation, repair, and

displacement of the Gallaghers for repair to the Property ranges from $80,000.00 to $150,000.00.

See Complaint & Exhibit B thereto, attached hereto as Exhibit 2.

            21.   The claims brought against Davidson, Davidson Contractors, and Mason by the

Gallaghers and the relief sought by the Gallahers exceeds the minimum amount in controversy

requirement of $75,000.00 required for this Court to exercise jurisdiction over this matter.

            22.   The policy limits of $1,000,000.00 for the policies of insurance issued by Auto-

Owners to Davidson for commercial general liability coverage exceed the minimum amount of

controversy requirement of $75,000.00 required for this Court to exercise jurisdiction over this

matter.

            23.   The amount in controversy in this declaratory judgment action exceeds the sum or

value of $75,000.00 exclusive of interest and costs.


                                                  4

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 4 of 25 PageID #: 4
            24.   This Court has personal jurisdiction over Auto-Owners, Davidson, Davidson

Contractors, Mason, and the Gallaghers.

                                    SPECIFIC ALLEGATIONS

            25.   Auto-Owners issued policies of insurance to Davidson.

            26.   The policies issued to Davidson are commercial general liability policies

(collectively, “the Policies”).

            27.   Based on the allegations in the Amended Complaint, Policies issued in 2010 and

2011 are potentially applicable to the claims made in the Amended Complaint.

            28.   The first Policy at issue was issued in April of 2010 (“the 2010 Policy”). The

policy number for the 2010 Policy is 104619-03384302-10.

            29.   The 2010 Policy had an effective date of April 21, 2010 to April 21, 2011. A

certified copy of the 2010 Policy is attached hereto as Exhibit 3 and is incorporated into this

Complaint for Declaratory Judgment by reference.

            30.   A second policy at issue in this case was issued in April of 2011 (“the 2011

Policy”). The policy number for the 2011 Policy is 104619-03384302-11.

            31.   The 2011 Policy had an effective date of April 21, 2011 to April 21, 2012. A

certified copy of the 2011 Policy is attached hereto as Exhibit 4 and is incorporated into this

Complaint for Declaratory Judgment by reference.

            32.   The Policies contain the following language as part of the insuring agreement:

SECTION 1 – COVERAGES

COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1.          Insuring Agreement

            a.    We will pay those sums that the insured becomes legally obligated to pay as
                  damages because of “bodily injury” or “property damage” to which this insurance
                  applies. We will have the right and duty to defend the insured against any “suit”
                                                   5

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 5 of 25 PageID #: 5
                 seeking those damages. We may at our discretion investigate any claim or
                 “occurrence” and settle any claim or “suit” that may result. But:

                 (1)    The amount we will pay for damages is limited as described in Section
                        III – Limits of Insurance; and

                 (2)    Our right and duty to defend end when we have used up the applicable
                        limit of insurance in the payment of judgments or settlements under
                        Coverage A or B or medical expenses under Coverage C.

                 No other obligation or liability to pay sums or perform acts or services is covered
                 unless explicitly provided for under Supplementary Payments – Coverages A and
                 B.

            b.   This insurance applies to “bodily injury” and “property damage” only if:

                 (1)    The “bodily injury” or “property damage” is caused by and “occurrence”
                        that takes place in the “coverage territory”;

                 (2)    The “bodily injury” or “property damage” occurs during the policy
                        period; and

                 (3)    Prior to the policy period, no insured listed under Paragraph 1. of Section
                        II – Who Is An Insured and no “employee” authorized by you or give or
                        receive notice of an “occurrence” or claim, knew that the “bodily injury”
                        or “property damage” had occurred, in whole or in part. If such a listed
                        insured or authorized “employee” knew, prior to the policy period, that
                        the “bodily injury” or “property damage” occurred, then any
                        continuation, change or resumption of such “bodily injury” or “property
                        damage” during or after the policy period will be deemed to have been
                        known prior to the policy period.

            c.   “Bodily injury” or “property damage” will be deemed to have been known to
                 have occurred at the earliest time when any insured listed under Paragraph 1. of
                 Section II – Who Is An Insured or any “employee” authorized by you to give or
                 receive notice of an “occurrence” or claim:

                 (1)    Reports all or any part, of the “bodily injury” or “property damage” to us
                        or any other insurer;

                 (2)    Receives a written or verbal demand or claim for damages because of the
                        “bodily injury” or “property damage”; or

                 (3)    Becomes aware by any other means that “bodily injury” or “property
                        damage” has occurred or has begun to occur.



                                                  6

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 6 of 25 PageID #: 6
            d.     Damages because of “bodily injury” include damages claimed by any person or
                   organization for care, loss of services or death resulting at any time from the
                   “bodily injury”.

2.          Exclusions

            This insurance does not apply to:

            a.     Expected Or Intended Injury

                   “Bodily injury” or “property damage” expected or intended from the standpoint
                   of the insured. This exclusion does not apply to “bodily injury” resulting from
                   the use of reasonable force to protect persons or property.

            l.     Damage to Your Work

                   “Property damage” to “your work” arising out of it or any part of it and included
                   in the “products-completed operations hazard”.

SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS

2.          Duties In The Event Of Occurrence, Offense, Claim or Suit
            c.     You and other involved insured must:

                   (2)    Authorize us to obtain records and other information.
                   (3)    Cooperate with us in the investigation or settlement of any claim or
                          defense of any “suit”; and

SECTION V – DEFINITIONS

14.         “Occurrence means an accident, including continuous or repeated exposure to
            substantially the same general harmful conditions.

17.         “Products-completed operations hazard”:

            a.     Includes all “bodily injury” and “property damage” occurring away from premises
                   you own or rent and arising out of “your product” or “your work” except:

                   (1)    Products that are still in your physical possession; or

                   (2)    Work that has not yet been completed or abandoned. However, “your
                          work” will be deemed completed at the earliest of the following times:

                          (a)     When all of the work called for in your contract has been
                                  completed.

                          (b)     When all of the work to be done at the job site has been completed
                                  if your contract calls for work at more than one job site.
                                                    7

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 7 of 25 PageID #: 7
                            (c)    When that part of the work done at a job site has been put to its
                                   intended use by any person or organization other than another
                                   contractor or subcontractor working on the same project.

                                   Work that may need service, maintenance, correction, repair or
                                   replacement, but which is otherwise complete, will be treated as
                                   completed.

            b.     Does not include “bodily injury” or “property damage” arising out of:

                   (1)      The transportation of property, unless the injury or damage arises out of a
                            condition in or on a vehicle not owned or operated by you, and that
                            condition was created by the “loading or unloading” of that vehicle by any
                            insured;

                   (2)      The existence of tools, uninstalled equipment or abandoned or unused
                            materials; or

                   (3)      Products or operations for which the classification, shown in the
                            Declarations, states that products-completed operations are included.

18.         “Property damage” means:

            a.     Physical injury to tangible property, including all resulting loss of use of that
                   property. All such loss of use shall be deemed to occur at the time of the physical
                   injury that caused it; or

            b.     Loss of use of tangible property that is not physically injured. All such loss shall
                   be deemed to occur at the time of the “occurrence” that caused it.

            For the purposes of this insurance, electronic data is not tangible property.

            As used in this definition, electronic data means information, facts or programs stored as
            or on, created or used on, or transmitted to or from computer software, including systems
            and applications software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data
            processing devices or any other media which are used with electronically controlled
            equipment.

27.         “Your work”:

            a.     Means:

                   (1)      Work or operations performed by you or on your behalf; and

                   (2)      Materials, parts or equipment furnished in connection with such work or
                            operations.

            b.     Includes:

                                                      8

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 8 of 25 PageID #: 8
                   (1)     Warranties or representations made at any time with respect to the fitness,
                           quality, durability, performance or use of “your work”; and

                   (2)     The providing of or failure to provide warnings or instructions.

The Fungi or Bacteria Exclusions endorsement also applies to both policies:

                                FUNGI OR BACTERIA EXCLUSIONS

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART.

A.          Under SECTION I - COVERAGES, COVERAGE A. BODILY INJURY AND
            PROPERTY DAMAGE LIABILITY, 2. Exclusions, the following exclusions are
            added:

            1.     Bodily injury” or “property damage” arising out of, in whole or in part, the actual,
                   alleged or threatened inhalation of, ingestion of, contact with, exposure to,
                   existence of, or presence of, any “fungi” or bacteria, whether airborne or not, on
                   or within a building or structure, including its contents. This exclusion applies
                   whether any other cause, event, material or product contributed concurrently or in
                   any sequence to such injury or damage.

            2.     Any loss, cost or expenses arising out of the abating, testing for, monitoring,
                   cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating
                   or disposing of, or in any way responding to, or assessing the effects of, “fungi”
                   or bacteria, by any insured or by any other person, entity or governmental
                   authority.

            These exclusions do not apply to any “fungi” or bacteria that are on, or are contained in, a
            good or product intended for human consumption.

B.          Under SECTION I – COVERAGES, COVERAGE B. PERSONAL INJURY AND
            ADVERTISING INJURY LIABILITY, 2. Exclusions, the following exclusions are
            added:

            1.      Arising out of, in whole or in part, the actual, alleged or threatened inhalation of,
            ingestion of, contact with, exposure to, existence of, or presence of, any “fungi” or
            bacteria, whether airborne or not, on or within a building or structure, including its
            contents. This exclusion applies whether any other cause, event, material or product
            contributed concurrently or in any sequence to such injury.

            2.     For any loss, cost or expenses arising out of the abating, testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or
            disposing of, or in any way responding to, or assessing the effects of, “fungi” or bacteria,
            by any insured or by any other person, entity or governmental authority.

                                                     9

3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 9 of 25 PageID #: 9
 C.          The following definition is added to SECTION V – DEFINITIONS:

             “Fungi” means any type or form of fungus, including but not limited to, any mold,
             mildew, mycotoxins, spores, scents or byproducts produced or released by any type or
             form of fungus.

             33.    The 2011 Policy contained the following endorsement:

                                 SUBCONTRACTOR CAUSED PROPERTY
                                       DAMAGE COVERAGE

 This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILITY COVERAGE PART.

 The following is added to SECTION I – COVERAGES.

 SUBCONTRACTOR CAUSED PROPERTY DAMAGE

 1.          Insuring Agreement

             We will pay those sums that the insured becomes legally obligated to pay as damages for
             “subcontractor caused property damage” to “your work” included in the
             “products-completed operations hazard”.

             Such damage shall be deemed:

             a.     To have been caused by an “occurrence”; and

             b.     Not to have been expected or intended from the standpoint of the insured.

             This is not an additional amount of insurance and does not increase the LIMITS OF
             INSURANCE shown in the Declarations.

             All other policy terms and conditions that apply to SECTION I – COVERAGES,
             COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 1.
             Insuring Agreement, also apply to the coverage provided by this endorsement.

 2.          Exclusions

             All exclusions that apply to SECTION I – COVERAGES, COVERAGE A. BODILY
             INJURY AND PROPERTY DAMAGE LIABILITY also apply to this endorsement
             except for the following.

             With regard only to the coverage provided by this endorsement, under SECTION I –
             COVERAGES, COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
             LIABILITY, 2. Exclusions, I is deleted and replaced by the following:

             I.     Damage to Subcontractor’s Work
                                               10

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 10 of 25 PageID #: 10
                   The cost to repair or replace the work that caused the “subcontractor caused
                   property damage” to “your work”.

 3.          Limits of Insurance

             With regard only to the coverage provided by this endorsement, SECTION III –
              LIMITS OF INSURANCE, paragraphs 3. And 5. Are deleted and replaced by the
             following:

             3.    The Products-Completed Operations Aggregate Limit is the most we will pay for
                   the sum of:

                   a.     Damages under Coverage A for damages because of “bodily injury” and
                          “property damage” included in the “products-completed operations
                          hazard”; and

                   b.     Damages under this endorsement.

             5.    Subject to 3. Above, the Each Occurrence Limit is the most we will pay for the
                   sum of:

                   a.     Damages under Coverage A for all “bodily injury” and “property damage”
                          arising out of any one “occurrence”;

                   b.     Medical expenses under Coverage C for all “bodily injury” arising out of
                          any one “occurrence”; and

                   c.     Damages under this endorsement arising out of any one “occurrence”;

             4.    Other Insurance

                   Under        SECTION IV – COMMERCIAL        GENERAL          LIABILITY
                   CONDITIONS, 4. Other Insurance is deleted and replaced by the following as
                   it applies to this endorsement only:

                   No insured shall be entitled to coverage under this endorsement if such insured is
                   covered by any other valid and collectible insurance, including any excess or
                   umbrella liability policy, for a claim also covered by this endorsement. This
                   provision shall not apply after the limits of all such policies have been exhausted.

             5.    Definition

                   Under SECTION V – DEFINITIONS, the following definition is added as it
                   applies to this endorsement only:

                   “Subcontractor caused property damage” means:



                                                    11

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 11 of 25 PageID #: 11
                   a.     Physical injury to tangible property caused by your subcontractor,
                          including all resulting loss of use of that property. All such loss of use
                          shall be deemed to occur at the time of the physical injury that caused it;
                          or

                   b.     Loss of use of tangible property that is not physically injured, however,
                          such loss of use must be the result of physical injury to other property
                          arising out of your subcontractor’s work. All such loss shall be deemed to
                          occur at the time of the “occurrence” that caused it.

                   For the purposes of this insurance, electronic data is not tangible property.

                   As used in this definition, electronic data means information, facts or programs
                   stored as or on, created or used on, or transmitted to or from computer software,
                   including systems and applications software, hard or floppy disks, CD-ROMS,
                   tapes, drives, cells, data processing devices or any other media which are used
                   with electronically controlled equipment.

             All policy terms and conditions that apply to SECTION I – COVERAGES,
             COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY also
             apply to this endorsement.

             34.   On or about February 1, 2016, the Gallaghers sued Davidson and Davidson

 Contractors and non-party John Mason in a civil action the Circuit Court for Hamilton County,

 Tennessee styled Justin Anthony Gallagher and Melissa Marie Gallagher v. Davidson

 Contractors, LLC, Phillip Lance Davidson, and John Mason, Hamilton County Circuit Court,

 No. 16C227 (the “Action”).

             35.   A copy of the Complaint filed in the Action is attached hereto as Exhibit 2 and is

 incorporated into this Complaint for Declaratory Judgment by reference.

             36.   On December 14, 2016, the Hamilton County Circuit Court entered an Agreed

 Order Allowing Amendment to Complaint that permitted the Gallaghers to file an Amended

 Complaint.

             37.   A copy of the Amended Complaint filed in the Action is attached hereto as

 Exhibit 1 and is incorporated into this Complaint for Declaratory Judgment by reference.



                                                    12

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 12 of 25 PageID #: 12
             38.   The Amended Complaint filed in the Action alleges that on or about October 15,

 2010, the Gallaghers and Davidson Contractors entered into a Home Building Agreement (the

 "Agreement"). See Exhibit 1, Amended Complaint, ¶ 8.

             39.   The Amended Complaint filed in the Action alleges that under the Agreement,

 Davidson Contractors contracted to build the Gallaghers a home at 1191 Natural Way, Soddy

 Daisy, Tennessee 37379. See id., ¶ 9.

             40.   The Amended Complaint filed in the Action alleges that the Gallaghers were not

 provided a copy of the Agreement and that Mrs. Gallagher has requested a copy of the

 Agreement on multiple occasions. See id., ¶¶ 10-11.

             41.   The Amended Complaint filed in the Action alleges that on or about October 15,

 2010, the Parties, in addition to executing the Agreement, also executed a separate Payment

 Schedule, which referenced and incorporated the Agreement therein. A copy of the October 15,

 2010 Payment Schedule is attached to the original Complaint filed in the Action as Exhibit A.

 See id., ¶ 13; Exhibit 2, Complaint, ¶ 13 and Exhibit A thereto.

             42.   The Amended Complaint filed in the Action alleges that under the Payment

 Schedule, the Gallaghers and the defendants in the Action agreed to a timeline for construction

 of the Property. See Exhibit 1, Amended Complaint, ¶ 14.

             43.   The Amended Complaint filed in the Action alleges that pursuant to that timeline,

 the ground at the Property was not to be broken prior to October 25, 2010. See id., ¶ 15.

             44.   The Amended Complaint filed in the Action alleges that on October 18, 2010,

 Mason called the Gallaghers and notified them that excavation by a subcontractor was underway

 at the Property. See id., ¶¶ 16-17.




                                                  13

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 13 of 25 PageID #: 13
             45.   The Amended Complaint filed in the Action alleges that during that call, Mason

 requested a meeting with the Gallaghers at the Property. See id., ¶ 18.

             46.   The Amended Complaint filed in the Action alleges that the Gallaghers intended

 to visit the Property prior to October 25, 2010 (i.e., prior to the breaking of ground at the

 Property). See id., ¶ 19.

             47.   The Amended Complaint filed in the Action alleges that as a result of the

 subcontractor's premature actions on October 18, 2010, the Gallaghers were not able to visit the

 Property as planned. See id., ¶ 20.

             48.   The Amended Complaint filed in the Action alleges that the Gallaghers and

 Mason met at the Property on October 18, 2010. See id., ¶ 21.

             49.   The Amended Complaint filed in the Action alleges that excavation on the

 Property was nearly complete. See id., ¶ 22.

             50.   The Amended Complaint filed in the Action alleges that the clearing of the

 Property revealed that the Property had a severely steep grade. See id., ¶ 23.

             51.   The Amended Complaint filed in the Action alleges that during the meeting

 between the Gallaghers and Mason, the steep grade of the Property was a topic of discussion.

 See id., ¶ 24.

             52.   The Amended Complaint filed in the Action alleges that Mason represented to the

 Gallaghers that he had not noticed the steep grade of the Property until after the Property was

 cleared for excavation. See id., ¶ 25.

             53.   The Amended Complaint filed in the Action alleges that during the meeting

 between the Gallaghers and Mason, Mason informed the Gallaghers that the back portion of the

 Property was subject to a septic easement. See id., ¶ 26.


                                                  14

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 14 of 25 PageID #: 14
             54.   The Amended Complaint filed in the Action alleges that Mason further

 represented that he was not previously aware of the septic easement on the back portion of the

 lot. See id., ¶ 27.

             55.   The Amended Complaint filed in the Action alleges that Mason further

 represented that, as a result of the severely steep grade of the Property and the existing septic

 easement, the house could only be oriented one way, would require a “swale” and retaining walls

 in order to construct the basement as originally designed and agreed upon, and would require

 horizontal orientation of the windows. See id., ¶ 28.

             56.   The Amended Complaint filed in the Action alleges that the Gallaghers relied on

 Mason and Davidson's professional expertise in making changes to the design and construction

 of the home based on the dimensions and slope of the lot. See id., ¶ 29.

             57.   The Amended Complaint filed in the Action alleges that the Gallaghers relied on

 Mason and Davidson's professional expertise for the changes to design and construction. As a

 result and based on this reliance, the Gallaghers reluctantly agreed to proceed with construction

 with the understanding that the dimensions and slope of the lot would not negatively impact the

 home. See id., ¶ 30.

             58.   The Amended Complaint filed in the Action alleges that throughout the

 construction process, Mason and Davidson continually assured the Gallaghers that the home

 would meet all building codes and the agreed-upon design. See id., ¶ 31.

             59.   The Amended Complaint filed in the Action alleges that the Gallaghers relied on

 these assurances. See id., ¶ 32.

             60.   The Amended Complaint filed in the Action alleges that a certificate of

 occupancy was obtained for the home on February 10, 2011. See id., ¶ 33.


                                                  15

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 15 of 25 PageID #: 15
             61.   The Amended Complaint filed in the Action alleges that on March 1, 2011 (the

 "Closing Date"), the parties closed on the sale of the home, and the Property was transferred

 from Davidson Contractors to the Gallaghers. See id., ¶ 34.

             62.   The Amended Complaint filed in the Action alleges that since the Closing Date,

 the Gallaghers’ home has exhibited multiple construction defects, including defects related to the

 home's foundation and overall structure. See id., ¶ 35.

             63.   The Amended Complaint filed in the Action alleges that six (6) weeks after

 moving into the Property, the Gallaghers discovered wet carpet in the finished basement. See id.,

 ¶ 36.

             64.   The Amended Complaint filed in the Action alleges that six (6) weeks after

 moving into the Property, there was a noticeable odor and general dampness in the finished

 basement. See id., ¶ 37

             65.   The Amended Complaint filed in the Action alleges that six (6) weeks after

 moving into the Property, the Gallaghers discovered mold along the base boards in the finished

 basement. See id., ¶ 38.

             66.   The Amended Complaint filed in the Action alleges that the Gallaghers notified

 Davidson Contractors about the moisture and mold problems. See id., ¶ 39.

             67.   The Amended Complaint filed in the Action alleges that in response to the

 Gallaghers’ voiced concerns, Davidson Contractors recommended that the Gallaghers wipe the

 affected areas down with bleach. See id., ¶ 40.

             68.   The Amended Complaint filed in the Action alleges that after proposing bleach as

 a solution to the moisture, mold and mildew issues raised by the Gallaghers, Davidson




                                                   16

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 16 of 25 PageID #: 16
 Contractors, Davidson, and Mason refused to communicate any further with the Gallaghers. See

 id., ¶ 41.

             69.   The Amended Complaint filed in the Action alleges that thereafter, the Gallaghers

 contacted and retained the services of a remediation company and a foundational waterproofing

 company. See id., ¶ 42.

             70.   The Amended Complaint filed in the Action alleges that these companies

 determined that the waterproofing work on the basement was incomplete and defective. See id.,

 ¶ 43.

             71.   The Amended Complaint filed in the Action alleges that these companies

 determined that the incomplete and defective waterproofing work allowed moisture to enter the

 basement. See id., ¶ 44.

             72.   The Amended Complaint filed in the Action alleges that the Gallaghers notified

 Davidson Contractors of these companies’ findings and conclusions. See id., ¶ 45.

             73.   The Amended Complaint filed in the Action alleges that after being so notified,

 Davidson Contractors became responsive again. See id., ¶ 46.

             74.   The Amended Complaint filed in the Action alleges that Davidson Contractors

 sent their subcontractor, Choice Waterproofing, to the Property. See id., ¶ 47.

             75.   The Amended Complaint filed in the Action alleges that Choice Waterproofing

 conducted an investigation of the Property and determined, among other things, that: (1) the

 external waterproofing was not applied high enough on the foundation wall; (2) the French drain

 that served as the drainage system for the home's foundation was crushed and did not function

 properly; (3) the downspouts were connected to perforated piping allowing rainwater from the

 gutters to spill against inadequately waterproofed, exposed concrete block; and (4) a “U”-shaped


                                                  17

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 17 of 25 PageID #: 17
 bend in an exit pipe in the foundation's drain system was preventing collected water from

 draining away from the house. See id., ¶ 48.

             76.   The Amended Complaint filed in the Action alleges that Davidson Contractors

 used Choice Waterproofing and Gary Lewis Contracting to repair the issues identified by Choice

 Waterproofing and to remediate mold (the “Remediation and Waterproofing Project”). See id., ¶

 49.

             77.   The Amended Complaint filed in the Action alleges that the Remediation and

 Waterproofing Project took over twenty (20) weeks to be completed. See id., ¶ 50.

             78.   The Amended Complaint filed in the Action alleges that during those twenty (20)

 weeks, Davidson Contractors, Davidson, and Mason exhibited poor communication with the

 Gallaghers. See id., ¶ 51.

             79.   The Amended Complaint filed in the Action alleges that during those twenty (20)

 weeks, Davidson Contractors, Davidson, and Mason were disrespectful and dismissive of the

 Gallaghers’ concerns. See id., ¶ 52.

             80.   The Amended Complaint filed in the Action alleges that beginning in the first half

 of 2015, the Gallaghers' noticed cracks in the drywall of the guest bedroom, which is located in

 the front left corner of the house. See id., ¶ 53.

             81.   The Amended Complaint filed in the Action alleges that the Gallaghers proceeded

 to actively monitor these cracks, which revealed that they were increasing in number and size

 over time. See id., ¶ 54.

             82.   The Amended Complaint filed in the Action alleges that in November 2015, the

 Gallaghers contacted a foundation company to inspect the Property to determine the cause of the

 cracks. See id., ¶ 55.


                                                      18

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 18 of 25 PageID #: 18
             83.   The Amended Complaint filed in the Action alleges that the company the

 Gallaghers hired for the inspection found significant cracks running along the entire front portion

 of the home in both the drywall and the foundation, as well as significant cracks in the poured

 garage slab. See id., ¶ 56.

             84.   The Amended Complaint filed in the Action alleges that the company further

 determined that these cracks were caused by an extreme settling event beneath the front portion

 of the home. See id., ¶ 57.

             85.   The Amended Complaint filed in the Action alleges that the company opined that

 the settling event likely resulted from improper soil work, excavation, engineering and

 compaction prior to erecting the structure. See id., ¶ 58.

             86.   The Amended Complaint filed in the Action alleges that the company further

 determined that the work performed during the Remediation and Waterproofing Project in 2011

 was inadequate and defective and was likely another cause to the damage observed in the

 drywall, foundation and garage slab. See id., ¶ 59.

             87.   The Amended Complaint filed in the Action alleges that by letter dated January 5,

 2016 (the "Demand Letter"), the Gallaghers notified Davidson Contractors of the ongoing

 defects and issues observed at the Property and demanded immediate remediation. A copy of the

 Demand Letter is attached as Exhibit B to the original Complaint filed in the Action. See id., ¶

 60; Exhibit 2, Complaint, ¶ 60 and Exhibit B thereto.

             88.   The Amended Complaint filed in the Action alleges that as of the date of filing of

 the original Complaint, the Gallaghers have received no response to their Demand Letter from

 either Davidson Contractors, Davidson, or Mason. See Exhibit 1, Amended Complaint, ¶ 61.




                                                   19

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 19 of 25 PageID #: 19
             89.   The Amended Complaint filed in the Action brings claims against Davidson,

 Davidson Contractors, and Mason for breach of contract, breach of the covenant of good faith

 and fair dealing, breach of warranty, breach of implied warranties, negligence, negligent

 misrepresentation, and fraud. See id., ¶¶ 62-107.

             90.   The Amended Complaint filed in the Action brings a claim for piercing the

 corporate veil against Davidson and Mason. See id., ¶¶ 108-115.

             91.   Davidson and Davidson Contractors requested that Auto-Owners provide a

 defense for them for the claims made in the Action pursuant to the Policies.

             92.   Auto-Owners agreed to provide a defense for Davidson, Mason, and Davidson

 Contractors in the Action subject to a reservation of rights, which included, but was not limited

 to, the right of Auto-Owners to file a declaratory judgment action to determine whether the

 Policies issued to Davidson provided coverage for the claims made in the Action by the

 Gallaghers.

             93.   The Policies do not provide coverage for the claims made in the Action by the

 Gallaghers against Davidson, Mason, and Davidson Contractors.

             94.   The Fungi or Bacteria Exclusion in the Policies excludes coverage for any mold

 damage to the Property.

             95.   Based on the allegations of the Amended Complaint filed in the Action, the

 Gallaghers first discovered and reported to Davidson Contractors alleged damage to the Property

 prior to the effective date of the 2011 Policy. See Exhibit 1, Amended Complaint, ¶¶ 34-39.

             96.   Because the alleged damage to the Property set forth in paragraphs 34-39 of the

 Amended Complaint filed in the Action was discovered after the Gallaghers moved into the




                                                  20

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 20 of 25 PageID #: 20
 Property, the alleged damage falls within the “products-completed operations hazard” as defined

 in the Policies.

             97.    Exclusion 2.l of the 2010 Policy excludes coverage for the alleged damage to the

 Property set forth in paragraphs 34-39 of the Amended Complaint filed in the Action.

             98.    Exclusion 2.1 of the 2010 and 2011 Policies excludes coverage for the claims for

 alleged property damage to the Property as alleged in the Amended Complaint filed in the

 Action.

             99.    The 2011 Policy does not provide coverage for the alleged damage to the Property

 set forth in paragraphs 34-39 of the Amended Complaint filed in the Action because the damage

 was known and reported to Davidson Contractors prior to the effective date of the 2011 Policy.

             100.   The alleged damage to the Property set forth in paragraph 48 of the Amended

 Complaint filed in the Action all relate to issues with waterproofing the Property and are

 continuing damage arising out of the initial damage discovered prior to the effective date of the

 2011 Policy.

             101.   Paragraph 44 of the Amended Complaint filed in the Action alleges that it was

 incomplete and defective waterproofing that allowed moisture to enter the basement.

             102.   This is consistent with the previously discovered alleged water and mold damage

 discovered by the Gallaghers and reported to Davidson Contractors prior to the effective date of

 the 2011 Policy.

             103.   As a result, neither of the Policies provides coverage for the damage alleged in

 paragraph 48 of the Amended Complaint filed in the action.

             104.   The damage alleged in paragraphs 53-59 of the Amended Complaint filed in the

 Action allegedly occurred and was discovered in 2015.


                                                   21

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 21 of 25 PageID #: 21
             105.   Auto-Owners did not provide insurance coverage for Davidson, Mason, and

 Davidson Contractors for damage discovered in 2015.

             106.   The Policies only provide coverage for property damage that occurs during the

 policy period.

             107.   Auto-Owners did not have any insurance policy in effect for Davidson, Mason, or

 Davidson Contractors in 2015.

             108.   The Policies do not provide coverage for any claims of damage discovered in

 2015 as alleged in the Amended Complaint filed in the Action.

             109.   The Policies do not provide coverage for the claim of breach of contract made in

 the Action.

             110.   The Policies do not provide coverage for the claim of breach of the duty of good

 faith and fair dealing as none of the allegations made in the claim assert a claim for property

 damage as the term is defined in the Policies.

             111.   The Policies do not provide coverage for the claims of negligent

 misrepresentation or fraud as both claims rely upon intentional misrepresentations that were

 allegedly “false at the time they were made”. See Exhibit 1, Amended Complaint, ¶ 93.

             112.   The Amended Complaint filed in the Action alleges that Davidson, Mason, and

 Davidson Contractors “intended to induce [the Gallaghers] to rely on their misrepresentations.”

 See id., ¶ 96.

             113.   The Amended Complaint filed in the Action alleges that Davidson, Mason, and

 Davidson Contractors “knowingly and/or recklessly misrepresented material facts to [the

 Gallaghers] regarding the Property and the structure on the Property.” See id., ¶ 101.




                                                   22

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 22 of 25 PageID #: 22
             114.   The Amended Complaint filed in the Action alleges that Davidson, Mason, and

 Davidson Contractors “intended to induce [the Gallaghers] to rely on their misrepresentations so

 that [the Gallaghers] would commit to the construction project on the Property.” See id., ¶ 103.

             115.   The expected/intended exclusion in the Policies excludes coverage for the claims

 of negligent misrepresentation and fraud based on the allegations made in the complaint filed in

 the Action.

             116.   The Policies do not provide coverage for any damages sought in the Action that

 do not constitute “property damage” or “bodily injury” as those terms are defined in the Policies.

             117.   The 2011 Policy excludes coverage for the cost of repairing or replacing a

 subcontractor’s work that caused any “subcontractor caused property damage” to “your work” as

 those terms are defined in the 2011 Policy.

             118.   The Policies do not provide coverage for the claim for piercing the corporate veil

 as the damages sought do not constitute covered “property damage” or “bodily injury”, are

 outside the scope of the coverage of the Policies, or are excluded from coverage by the terms of

 the Policies.

             119.   The Policies do not provide coverage to Davidson, Mason, and/or Davidson

 Contractors for the claims made in the Action.

             120.   A review of the terms of the Policies as well as of the allegations of the complaint

 filed in the Action establishes that Auto-Owners does not have any duty to defend Davidson,

 Mason, or Davidson Contractors in the Action.

             121.   A review of the terms of the Policies as well as of the allegations of the complaint

 filed in the Action establishes that Auto-Owners does not have any duty to indemnify Davidson,

 Mason, or Davidson Contractors for any judgment entered against them in the Action.


                                                     23

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 23 of 25 PageID #: 23
             122.   Davidson is a proper party to this declaratory judgment action because he is a

 named insured on the Policies and this action will determine whether he has insurance coverage

 under the Policies for the claims made in the Action.

             123.   Davidson Contractors is a proper party to this declaratory judgment action

 because it is a potential insured on the Policies and this action will determine whether it has

 insurance coverage under the Policies for the claims made in the Action.

             124.   Mason is a proper party to this declaratory judgment action because he is a

 potential insured pursuant to the Policies and this action will determine whether he has insurance

 coverage under the Policies for the claims made in the Action.

             125.   The Gallaghers are proper parties to this declaratory judgment action because

 they, as the plaintiffs in the Action, have an interest in whether Davidson, Mason, or Davidson

 Contractors has insurance coverage to pay any judgment that may be entered in the Action in

 favor of the Gallaghers.

             126.   Neither Auto-Owners nor any of the Defendants have sought, by any other legal

 action to have their respective rights adjudicated under the facts and circumstances presented

 herein.

             WHEREFORE, Auto-Owners prays:

             (a)    That service of process be issued and served upon the Defendants listed above;

             (b)    That this Court enter an Order declaring Auto-Owners does not have any duty or

 obligation to defend Lance Davidson d/b/a Davidson Contractors, LLC, John Mason, or

 Davidson Contractors, LLC, in the Action;




                                                    24

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 24 of 25 PageID #: 24
             (c)    That this Court enter an Order declaring that Auto-Owners does not have any duty

 or obligation to indemnify Lance Davidson d/b/a Davidson Contractors, LLC, John Mason, or

 Davidson Contractors, LLC, for any judgment entered against them in the Action;

             (d)    That this Court enter an Order declaring that the Policies do not provide insurance

 coverage to Lance Davidson d/b/a Davidson Contractors, LLC, John Mason, or Davidson

 Contractors, LLC, for the claims and damages alleged in the Action; and

             (e)    For such other relief as the Court deems equitable and necessary under the

 circumstances.

             Respectfully submitted this the 28th day of March, 2017.

                                                  WOOLF, McCLANE, BRIGHT, ALLEN &
                                                  CARPENTER, PLLC


                                                  By:s/Dean T. Howell_______________________
                                                     Howard E. Jarvis, Esq. BPR #006673
                                                     Dean T. Howell, Esq., BPR #022130

                                                  Post Office Box 900
                                                  Knoxville, Tennessee 37901-0900
                                                  Telephone: (865) 215-1000
                                                  Facsimile: (865) 215-1001

                                                  Attorneys for Plaintiff Auto-Owners Insurance
                                                  Company




                                                    25

 3678992.2
Case 1:17-cv-00083-TWP-SKL Document 1 Filed 03/28/17 Page 25 of 25 PageID #: 25
